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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

_________________________________
                                 )
Indian Motorcycle International, )
LLC,                             )
                                 )               Civil Action No. 16cv2095
                    Plaintiff    )
                                 )
v.                               )
                                 )               JURY TRIAL REQUESTED
GearLaunch Inc., and             )
John Doe d/b/a NatureTee,        )
                                 )
                    Defendants.  )
_________________________________)


                                     COMPLAINT

       Plaintiff, Indian Motorcycle International, LLC, by way of complaint against

Defendants GearLaunch Inc. and John Doe doing business as NatureTee, states and

alleges as follows:

                                     THE PARTIES

       1.     Plaintiff Indian Motorcycle International, LLC (“Indian Motorcycle”) is a

Delaware Limited Liability Company having its principal place of business at 2100

Highway 55, Medina, Minnesota, 55340.

       2.     Upon information and belief, Defendant GearLaunch Inc. is a Delaware

Corporation with a principal place of business at 234 Front St., 3rd Floor, San Francisco,

CA 94111.
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         3.   Upon information and belief, Defendant John Doe doing business as

NatureTee (“Defendant NatureTee” or “NatureTee”) is an individual or entity with an

unknown address that advertises and sells product through GearLaunch Inc. and its web

sites.

         4.   Upon information and belief, Defendants have conducted business in

Minnesota, including through use of at least the websites gearlaunch.com and

www.naturetee.com.

                            JURISDICTION AND VENUE

         5.   This is an action for counterfeiting, trademark infringement, unfair

competition and dilution under the Lanham Act, 15 U.S.C. §§ 1051 et seq.; common law

trademark infringement and unfair competition; and state deceptive trade practices and

dilution. This Court has jurisdiction of this action under 28 U.S.C. §§ 1331, 1332 and

1338, as well as 15 U.S.C. § 1121, as well as supplemental jurisdiction under 28 U.S.C. §

1367. The amount in controversy, exclusive of costs and interest, exceeds Seventy-Five

Thousand Dollars ($75,000.00).

         6.   This Court has personal jurisdiction under the Minnesota Long Arm

Statute, Minnesota Statute §543.19, as Defendants have transacted business within the

State of Minnesota, have committed acts of infringement within the State of Minnesota,

and have injured Plaintiff here in Minnesota.




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       7.      Venue is proper pursuant to 28 U.S.C. § 1391(b), in that a substantial part

of the claims occurred in this district, and the Defendants transact business within this

judicial district.

                                      FACTUAL BASIS

       8.      Indian Motorcycle is a manufacturer and seller of motorcycles in the United

States and around the world.

       9.      Since at least as early as 1901, Indian Motorcycle and its predecessors in

interest have used the name and mark INDIAN to identify their business and the brand of

their motorcycles. In addition, Indian Motorcycle uses the INDIAN mark in connection

with the sale of apparel, including t-shirts.

       10.     Indian Motorcycle is also the owner of more than thirty U.S. trademark

registrations composed of the term INDIAN in connection with products and services

related to its motorcycle business.

       11.       Indian Motorcycle’s United States trademark registrations include:


Trademark & Logo             Reg. No.           Goods/Services
                             4,501,980          (Int'l Class: 14)
                                                ornamental pins
                                                (Int'l Class: 18)
                                                wallets; backpacks
                                                (Int'l Class: 25)
                                                clothing, namely, jackets, shirts, vests, pants,
                                                gloves, rain suits, and belts; headwear,
                                                namely, hats
                             4,478,922          (Int'l Class: 18)
                                                backpacks; leather key chains; travel bags;
                                                duffel bags


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                                  (Int'l Class: 25)
                                  clothing, namely, jackets, shirts, vests, pants,
                                  gloves, hats, shoes and boots
                     3,354,681    (Int'l Class: 25)
                                  clothing, namely, pants, shirts, jackets, shorts,
                                  sweaters, [ dresses, skirts, ] underwear, hats,
                                  belts [, ties, and shoes ]
INDIAN               3,673,330    (Int'l Class: 25)
                                  clothing, namely, boots, t-shirts, sweatshirts,
                                  caps, hats, jackets, and sweaters
                                  (Int'l Class: 26)
                                  ornamental cloth patches
                     652,777      (Int'l Class: 039)
                                  men's and boys' [sweaters,] knitted cotton
                                  shirts [and bathing trunks]


                     4,198,942    (Int'l Class: 12)
                                  motorcycles and structural parts therefore;
                                  motorcycle saddlebags; leather motorcycle
                                  bags
                                  (Int'l Class: 14)
                                  jewelry; ornamental pins; clocks
                                  (Int'l Class: 18)
                                  wallets; leather key chains; luggage; travel
                                  bags
                                  (Int'l Class: 25)
                                  clothing, namely, jackets, sweaters, shirts,
                                  vests, pants, gloves, chaps, sweatshirts, t-
                                  shirts, belts; headwear, namely, caps, hats,
                                  skull caps, beanies, knit hats, head bands, and
                                  bandanas; footwear, namely, shoes and boots;
                                  leather clothing, namely, leather jackets,
                                  leather pants, leather chaps, leather gloves,
                                  leather shirts, and leather belts
                                  (Int'l Class: 28)
                                  scale model vehicles; model toy motorcycles;
                                  miniature motorcycle replicas




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                           4,325,612       (Int'l Class: 09)
                                           motorcycle helmets; motorcycle goggles;
                                           decorative magnets; luminous signs
                                           (Int'l Class: 12)
                                           motorcycles and structural parts therefor;
                                           motorcycle saddlebags
                                           (Int'l Class: 16)
                                           posters, pictures, decals, stickers, stationery,
                                           postcards, pens, printed paper signs,
                                           calendars, brochures about motorcycles and
                                           motorcycle accessories, prints in the nature of
                                           photographs and pictures
                                           (Int'l Class: 25)
                                           clothing, namely, footwear, shirts, jackets,
                                           hats, gloves, vests, pants
                                           (Int'l Class: 28)
                                           model toy vehicles, ride-on toys, toy
                                           motorcycles; sports bags specially adapted for
                                           motorcycle sports equipment

                           4,956,757       (Int'l Class: 25)
                                           clothing, namely, shirts, jackets, pants,
                                           gloves, hats and footwear




(collectively, “the Asserted Marks,” “the INDIAN Marks” or “Plaintiff’s Marks”).

Copies of information relating to Plaintiff's federal registrations for the Asserted Marks

and printed from the United States Patent and Trademark Office ("USPTO") website are

attached as Exhibit A hereto.

      12.    The registrations for the INDIAN Marks were issued in compliance with

law. In addition, Registration Nos. 3,354,681 and 3,673,330 are incontestable under

Section 15 of the Lanham Act, 15 U.S.C. § 1065, and are therefore conclusive evidence


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of the validity of the registrations, Indian Motorcycle’s ownership of the registrations,

and of Indian Motorcycle’s exclusive right to use the marks for the goods and services

listed therein pursuant to Sections 7(b) and 15 of the Lanham Act, 15 U.S.C. §1057 and

1065.

         13.   Indian Motorcycle has advertised and promoted its INDIAN Marks

extensively, and has made substantial sales of its motorcycles and related products

including apparel bearing the INDIAN Marks.

         14.   The result of these activities is that the Asserted Marks have achieved

widespread consumer recognition, making them strong marks entitled to broad protection

against infringement. In addition, Plaintiff's Marks are famous and became famous prior

to Defendants’ use of the INDIAN Marks in the United States.

         15.   Plaintiff's ownership of its Asserted Marks and registrations accord Plaintiff

exclusive nationwide rights to the use of the Asserted Marks for its goods and services,

and the right to prevent others from making infringing use of the Asserted Marks or any

mark confusingly similar thereto.

         16.   In addition to the federal registration rights, Plaintiff has common law

rights in its Asserted Marks through its use of these marks in connection with the sale of

motorcycles and apparel since long before Defendant adopted or used the mark for their

goods.




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       17. Defendant GearLaunch Inc. owns and operates a website located at

gearlaunch.com, through which it offers services for users to create online retail stores

and marketplaces to sell goods.

       18. Upon information and belief, users of Defendant GearLaunch Inc.’s website

upload design images for Defendant to print onto apparel such as t-shirts for sale.

Defendant provides payment processing, shipping, and customer service in connection

with sales of the printed apparel. Defendant GearLaunch Inc.’s services further include

apparel design, merchandising, and advertising for users. A description of Defendant

GearLaunch Inc.’s services is attached hereto as Exhibit B.

       19. Upon information and belief, Defendant NatureTee created an online retail

store and marketplace called NatureTee, located at the website naturetee.com, on which it

produces, promotes and offers for sale a t-shirt product called “Indian Motorcycle –

SPIRIT of Munro!” which prominently features Indian Motorcycle’s INDIAN Mark. A

copy of a screen shot of a web page appearing on naturetee.com and illustrating

Defendant’s use of the Asserted Marks are attached hereto as Exhibit C.

       20. Upon information and belief, the Designated Agent for the online retail store

and marketplace NatureTee is an individual named Michael Schell, who is Defendant

GearLaunch Inc.’s Co-Founder.

       21.    Defendants use Plaintiff’s INDIAN Marks to sell clothing in competition

with Indian Motorcycle’s products. Defendants use Plaintiff’s INDIAN Marks to identify




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their own products. However, Plaintiff has no relationship with Defendants and has

never authorized Defendants to use Plaintiff’s Marks.

       22.    Upon information and belief, Defendants have sold at least 511 shirts

bearing Indian Motorcycle’s INDIAN Mark. A printout of Defendant NatureTee’s web

page showing the number count of “Indian Motorcycle – SPIRIT of Munro!” shirts sold

is attached hereto as Exhibit D.

       23.    Plaintiff sent Defendant NatureTee a letter on May 26, 2016, and demanded

that Defendant cease and desist all use of Plaintiff’s INDIAN Mark. Plaintiff’s letter to

Defendant is attached hereto as Exhibit E. Plaintiff sent the letter via both UPS and e-

mail to Defendant’s e-mail address, support@naturetee.com. Plaintiff’s email to

Defendant is attached hereto as Exhibit F. Plaintiff requested a response by June 6, 2016.

Defendant did not respond to the letter.

       24.    Upon information and belief, Defendants also promote and offer for sale t-

shirts featuring Plaintiff’s INDIAN Marks on social media platforms, including

Facebook.com.     Indian Motorcycle has submitted takedown requests of Defendants’

products on Facebook.com on at least two occasions. Attached hereto as Exhibit G is

Plaintiff’s first takedown request submitted to Facebook.com, and Facebook.com’s

confirmation that it removed Defendant NatureTee’s unauthorized posting. Also attached

hereto as Exhibit H is Plaintiff’s second takedown request submitted to Facebook.com.

Facebook.com thereafter removed the second unauthorized posting.




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       25.    Upon information and belief, Defendants were aware of Plaintiff’s prior

rights in the INDIAN Marks but continue to promote and offer for sale products featuring

Plaintiff’s INDIAN Marks.

       26.    Upon information and belief, Defendants promote and use the INDIAN

Marks in Minnesota and nationwide.

       27.    Defendants’ use of the identical INDIAN Mark in connection with identical

products targeted at the identical consumers through the same trade channels as Indian

Motorcycle constitutes counterfeiting, trademark infringement and unfair business

practices as such use is likely to confuse the relevant consuming public into believing the

products of Defendants are affiliated with or sponsored by Indian Motorcycle.

       28.    Defendants intend by Defendants’ use of the INDIAN Marks to trade off

the resounding consumer goodwill of Plaintiff in the INDIAN Marks for products and

services related to Plaintiff’s motorcycle business.

       29.    Upon information and belief, it is Defendants’ business practice to trade off

the consumer goodwill of trademark owners in their federally registered trademarks.

Upon information and belief, Defendants also created an online retail store and

marketplace called TeeFunny, located at the website teefunny.com, on which it produces,

promotes and offers for sale a product that bears a federally registered trademark owned

by Plaintiff’s parent corporation.

       30.    The confusion caused by Defendants’ use of the Asserted Marks has

harmed Plaintiff and will continue to do so unless and until they are enjoined.



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       31.    Defendants are aware of the Plaintiff's prior rights referenced above.

       32.    In addition, Plaintiff's registrations have provided constructive notice of the

Plaintiff's rights, including through the Plaintiff's use of the ® symbol in connection with

its mark.

       33.    Defendants have used marks confusingly similar to the Plaintiff's federally-

registered Marks in connection with the promotion and/or sale of goods identical to the

goods of the Plaintiff without the consent of the Plaintiff in a manner which is likely to

cause confusion, to cause mistake, or to deceive as to source or origin among purchasers

and/or users of those goods.

       34.    Defendants have used marks confusingly similar to the Plaintiff's federally-

registered Marks in connection with the promotion and/or sale of goods identical to the

goods of the Plaintiff without the consent of the Plaintiff in a manner which is causing

actual confusion, mistake, and deceiving as to source or origin.

                                        COUNT I

                           FEDERAL COUNTERFEITING

       35.    Plaintiff repeats and realleges paragraphs 1-34 above.

       36.    This cause of action arises under the Federal Trademark Act, 15 U.S.C. §§

1051-1127 and 15 U.S.C. §§ 1114, 1117.

       37.    Defendants have used a spurious mark which is a counterfeit of, identical

with, or substantially indistinguishable from, Plaintiff's federally registered INDIAN

Marks.



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       38.    Defendants have used the mark knowing that they are counterfeit in

connection with the promotion and/or sale of goods identical to the goods of the Plaintiff

without the consent or authorization of the Plaintiff, in a manner which is likely to cause

confusion, to cause mistake, or to deceive as to source or origin among purchasers and/or

users of those goods.

       39.    Defendant’s unauthorized use of Plaintiff’s INDIAN Marks is likely to

mislead and cause customers and/or the general public to believe that the Defendants’

goods are produced by or under the authority of Plaintiff.

       40.    Defendants’ actions constitute counterfeiting under 15 U.S.C. § 1114.

       41.    Plaintiff's goodwill in its name and its Asserted Marks will be irreparably

harmed if Defendants continue their actions.

       42.    Upon information and belief, Defendants intentionally used Plaintiff’s

INDIAN Mark, knowing such mark is a counterfeit mark, in connection with the

promotion and/or offers for sale of goods identical to the goods of Plaintiff. Pursuant to

Section 35(b) of the Lanham Act, 15 U.S.C. § 1117(b), Plaintiff is entitled to recover

treble profits or damages, whichever amount is greater, together with a reasonable

attorney’s fee.

       43.    Pursuant to Section 35(c) of the Lanham Act, 15 U.S.C. § 1117(c), Plaintiff

is entitled to recover, in lieu of actual damages and profits under § 1117(a), statutory

damages for Defendants’ use of a Plaintiff’s INDIAN Mark, a counterfeit mark, in

connection with the promotion and/or offers for sale of goods identical to the goods of



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Plaintiff. Plaintiff reserves its right to elect an award of statutory damages of “(1) not

less than $1000 or more than $200,000 per counterfeit mark per type of goods or services

sold, offered for sale, or distributed, as the court considers just; or (2) if the court finds

that the use of the counterfeit mark was willful, not more than $2,000,000 per counterfeit

mark per type of goods or services sold, offered for sale, or distributed, as the court

considers Just.” 15 U.S.C. § 1117(c).

       44.    Plaintiff has been damaged by the actions of Defendants in an amount

which is as yet undetermined. If the acts of Defendants are allowed to continue, Plaintiff

will continue to suffer irreparable injury for which it has no adequate remedy at law.

                                        COUNT II

                    FEDERAL TRADEMARK INFRINGEMENT

       45.    Plaintiff repeats and realleges paragraphs 1-44 above.

       46.    This cause of action arises under the Federal Trademark Act, 15 U.S.C. §§

1051-1127 and 15 U.S.C. §§ 1114, 1117.

       47.    Defendants have used Plaintiff's federally registered INDIAN Marks in

connection with the promotion and/or sale of goods identical to the goods of the Plaintiff

without the consent or authorization of the Plaintiff in a manner which is likely to cause

confusion, to cause mistake, or to deceive as to source or origin among purchasers and/or

users of those goods. These activities have led to and are likely to lead to confusion in

the marketplace. Defendants’ use of the INDIAN Marks is likely to mislead and cause

customers and/or the general public to believe that the Defendants’ goods are produced



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by or under the authority of Plaintiff. Defendants’ use of the INDIAN Marks infringes

Plaintiff's rights in its federally registered Marks.

        48.   Plaintiff's goodwill in its name and its Asserted Marks will be irreparably

harmed if Defendants continue their actions.

        49.   Defendants’ actions constitute trademark infringement under 15 U.S.C. §

1114.

        50.   Upon information and belief, Defendants’ actions were taken in willful,

deliberate and intentional disregard to Plaintiff's rights. This case is exceptional under

Section 35 of the Lanham Act, 15 U.S.C. § 1117.

        51.   Plaintiff has been damaged by the actions of Defendants in an amount

which is as yet undetermined. If the acts of Defendants are allowed to continue, Plaintiff

will continue to suffer irreparable injury for which it has no adequate remedy at law.

                                         COUNT III

                          FEDERAL UNFAIR COMPETITION

        52.   Plaintiff repeats and realleges paragraphs 1-51 above.

        53.   The cause of action set forth herein arises under the Lanham Act of the

United States, 15 U.S.C. §§ 1051 - 1127 and 15 U.S.C. § 1125(a).

        54.   Defendants’ use of the INDIAN Marks in connection with the promotion

and/or sale of goods identical to the goods of Indian Motorcycle without the consent of

Indian Motorcycle is likely to cause confusion, to cause mistake, or to deceive as to the

source or origin of Defendants’ goods among purchasers and/or users of those goods.



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Defendants’ use of the INDIAN Marks infringes Plaintiff's rights in its federally

registered mark and common law trademarks.

       55.    Defendants’ acts constitute a willful false designation of origin and

misrepresentation in violation of 15 U.S.C. § 1125(a).

       56.    Plaintiff has been damaged by the actions of Defendants in an amount

which is as yet undetermined. If the acts of Defendants are allowed to continue, Plaintiff

will continue to suffer irreparable injury for which it has no adequate remedy at law.

                                       COUNT IV

                        FEDERAL TRADEMARK DILUTION

       57.    Plaintiff repeats and realleges paragraphs 1-56 above.

       58.    This cause of action arises under the Federal Trademark Act, 15 U.S.C. §§

1051-1127 and 15 U.S.C. § 1125(c). Jurisdiction is founded on 28 U.S.C. §§ 1331 and

1338, as well as 15 U.S.C. § 1121.

       59.    Plaintiff’s Marks are famous and became famous prior to Defendants’ first

use of its INDIAN Marks in the United States.

       60.    Defendants have used, in commerce, after Plaintiff's Marks became famous,

marks which cause dilution of the distinctive quality of Plaintiff's famous Marks.

       61.    Plaintiff's goodwill in its name and its Asserted Marks will be diluted and

irreparably harmed if Defendants continue their actions.

       62.    Defendants’ actions constitute trademark dilution under 15 U.S.C. §

1125(c).



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       63.    Upon information and belief, Defendants’ continued actions have been

willfully intended to trade on Plaintiff's reputation or to cause dilution of Plaintiff's

famous Marks.

       64.    Plaintiff has been damaged by the actions of the Defendants in an amount

which is as yet undetermined. If the acts of Defendants are allowed to continue, Plaintiff

will continue to suffer irreparable injury for which it has no adequate remedy at law.

                                        COUNT V

    STATE TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION

       65.    Plaintiff repeats and realleges paragraphs 1-64 above.

       66.    This cause of action arises under Minnesota's law of trademark

infringement and unfair competition.

       67.    Defendants’ activities complained of constitute infringement of Plaintiff's

common law rights in the state of Minnesota, and unfair competition.

       68.    Plaintiff has been damaged by the actions of Defendants in an amount

which is as yet undetermined.

       69.    If the acts of Defendants are allowed to continue, Plaintiff will continue to

suffer irreparable injury for which it has no adequate remedy at law.

                                       COUNT VI

                      DECEPTIVE TRADE PRACTICES ACT

       70.    Plaintiff repeats and realleges paragraphs 1-69 above.




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       71.      This cause of action arises under the Minnesota Deceptive Trade Practices

Act, Minn. Stat. § 325D.43 et seq. Jurisdiction is founded on 28 U.S.C. § 1338 or,

alternatively, upon principles of supplemental, pendent, and/or ancillary jurisdiction.

       72.      Defendants’ activities complained of constitute violations of the Minnesota

Deceptive Trade Practices Act, Minn. Stat. § 325D.43 et seq.

       73.      Plaintiff has been damaged by the actions of Defendants in an amount

which is as yet undetermined.

       74.      If the acts of Defendants are allowed to continue, Plaintiff will continue to

suffer irreparable injury for which it has no adequate remedy at law.

       75.      Pursuant to Minn. Stat. §§ 8.31 and 325D.45, Plaintiff is entitled to recover

its costs and attorneys’ fees.

                                         COUNT VII

                        UNLAWFUL TRADE PRACTICES ACT

       76.      Plaintiff repeats and realleges paragraphs 1-75 above.

       77.      The cause of action set forth herein arises under the Minnesota Unlawful

Trade Practices Act, Minn. Stat. § 325D.09 et seq. Jurisdiction is founded on 28 U.S.C. §

1338 or, alternatively, upon principles of supplemental, pendent, and/or ancillary

jurisdiction.

       78.      Defendants’ activities complained of constitute violations of the Minnesota

Unlawful Trade Practices Act, Minn. Stat. § 325D.09 et seq.




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       79.    Plaintiff has been damaged by the actions of Defendants in an amount

which is as yet undetermined.

       80.    If the acts of Defendants are allowed to continue, Plaintiff will continue to

suffer irreparable injury for which it has no adequate remedy at law.

       81.    Pursuant to Minn. Stat. § 325D.15 and § 8.31, subd. 3a, Plaintiff is entitled

to recover its costs, disbursements, and reasonable attorneys’ fees.

                                      COUNT VIII

                          STATE TRADEMARK DILUTION

       82.    Plaintiff repeats and realleges paragraphs 1-81 above.

       83.    This cause of action arises under Minnesota's law of trademark

infringement under Minn. Stat. § 325D.09 et seq. Jurisdiction is founded upon 28 U.S.C.

§§ 1332 and 1338 or alternatively, under supplemental jurisdiction as stated in 28 U.S.C.

§ 1367 or upon principles of pendent and/or ancillary jurisdiction.

       84.    Defendants’ activities complained of constitute violations of Minn. Stat. §

325D.09 et seq.

       85.    Plaintiff’s Marks are famous.

       86.    Defendants have used, in commerce, after Plaintiff's Marks became famous,

marks which cause dilution of the distinctive quality of Plaintiff's famous Marks.

       87.    Plaintiff's goodwill in Plaintiff’s Marks will be diluted and irreparably

harmed if Defendants continue their actions.




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         88.    Plaintiff has been damaged by the actions of the Defendants in an amount

which is as yet undetermined. If the acts of Defendants are allowed to continue, Plaintiff

will continue to suffer irreparable injury for which it has no adequate remedy at law.

                                       JURY DEMAND

         89.    Plaintiff requests that a jury be used to decide this case.

WHEREFORE, Plaintiff prays that the Court enter an Order:

         A.     Preliminarily and permanently enjoining and restraining the Defendants and

Defendants’ directors, officers, agents, servants, employees, subsidiaries, affiliates, and

all persons in active concert or participation with, through, or under Defendants:

         1.     from using in any way the Asserted Marks, the name INDIAN or any other

marks or names that contain the wording “INDIAN” or any other marks, words or names

confusingly similar to Plaintiff's marks as the name or mark for any of Defendants’ goods

or services;

         2.     from committing any acts of unfair competition and from creating a false

designation of origin or a false description or representation with respect to Plaintiff's

Marks;

         3.     from committing any acts of unfair competition by passing off or inducing

or enabling others to sell or pass off services which are not Plaintiff's goods as those of

Plaintiff;

         4.    from using in any manner packaging, labels, signs, literature, display cards,

 or other packaging, advertising, or promotional materials, or other materials related to



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the Defendants’ goods or services bearing the INDIAN Marks, the words INDIAN in the

mark or name, and any other mark, word, or name confusingly similar to Plaintiff's

Marks;

       5.      from making any statements on promotional materials or advertising for the

Defendants’ goods or services which are false or misleading as to being an authorized

distributor of Plaintiff or any of Plaintiff’s subsidiaries;

       6.      from making any statements on promotional materials or advertising for the

Defendants’ goods or services which are false or misleading as to source or origin; and;

       7.      from committing any acts of deceptive or unlawful trade practices

calculated to cause members of the trade or purchasing public to believe that Defendants’

goods or services are the services of Plaintiff or sponsored by or associated with, or

related to, or connected with, or in some way endorsed or promoted by Plaintiff under the

supervision or control of Plaintiff.

       B.      requiring that the Defendants deliver up to Plaintiff any and all containers,

signs, packaging materials, printing plates, and advertising or promotional materials and

any materials used in the preparation thereof, which in any way use or make reference to

the INDIAN Marks or the name INDIAN in connection with Defendants’ goods or

services.

       C.      requiring that Defendants, within thirty (30) days after service of notice in

entry of judgment or issuance of an injunction pursuant thereto, file with the Court and

serve upon the Plaintiff's counsel a written report under oath setting forth details of the



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manner in which Defendants have complied with the Court's order pursuant to paragraphs

A - B above.

      D.       requiring Defendants to account and pay over to Plaintiff all damages

sustained by Plaintiff, Defendants’ profits, statutory damages, attorneys’ fees, and costs,

and ordering that the amount of damages awarded Plaintiff be increased three times the

amount thereof.

      E.       Awarding Plaintiff such other relief as the Court may deem just and proper.


                                          INDIAN MOTORCYCLE
                                          INTERNATIONAL, LLC

                                          By its attorneys,

Date: June 23, 2016                       s/ Scott W. Johnston
                                          Scott W. Johnston (Reg. No. 247,558)
                                          Linhda Nguyen (Reg. No. 397,262)
                                          MERCHANT & GOULD P.C.
                                          3200 IDS Center
                                          80 South Eighth Street
                                          Minneapolis, Minnesota 55402-2215
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                                          Email: sjohnston@merchantgould.com
                                          Email: lnguyen@merchantgould.com




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